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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
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IN RE IROBOT CORPORATION                   )
SECURITIES LITIGATION                      ) Civil Action No. 19-cv-12536-DJC
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                               MEMORANDUM AND ORDER

CASPER, J.                                                                        March 12, 2021

I.     Introduction

       Lead Plaintiffs Carpenters Annuity Trust Fund for Northern California and Carpenters

Pension Trust Fund for Northern California (“Plaintiffs”) have filed this lawsuit upon behalf of

themselves and a proposed class under Fed. R. Civ. P. 23 against iRobot and its Chief Executive

Officer (“CEO”) Colin Angle (“Angle”), Chief Financial Officer (“CFO”) Alison Dean (“Dean”)

and Chief Operating Officer (“COO”) Christian Cerda (“Cerda”) (collectively, “Defendants”),

alleging securities fraud in violation of Sections 10(b) and 20(a) of the Securities Exchange Act of

1934 (“Exchange Act”) and Securities and Exchange Commission Rule 10b-5 (“Rule 10b-5”),

promulgated thereunder, between September 13, 2017 and October 22, 2019 (“the Class Period”).

D. 66. Defendants have moved to dismiss the consolidated amended complaint. D. 77. For the

reasons discussed below, the Court ALLOWS the motion to dismiss.

II.    Factual Background

       The following facts are as alleged in the consolidated amended complaint, D. 66, and the

Court accepts them as true for the purpose of resolving the motion to dismiss. Plaintiffs are

shareholders of iRobot Corporation, a “global consumer robot company that primarily designs and


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builds robot vacuum cleaners (“RVCs”) and other related products that autonomously clean

consumers’ homes.” D. 66 ¶ 61. Plaintiffs have brought this class action on behalf of “all persons

and entities who purchased publicly traded common stock of iRobot during the Class Period and

were damaged thereby.” Id. ¶ 345.

       iRobot’s flagship product is the Roomba, launched in 2002 and was the first RVC “to

succeed commercially.” Id. ¶ 2. Two years after its launch, in 2004, Roomba sales “surpassed

one million units” and by 2016 “over 14 million, with iRobot holding 70% market share of the

global RVC market at that time.” Id. ¶ 61. At the start of the Class Period, in September 2017,

Roomba held an approximate 85% share of the U.S. RVC market. Id. ¶ 69. The Roomba

accounted for 90% of iRobot’s revenue during the Class Period, deeming it “by far [iRobot’s] most

important product.” Id. ¶ 62.

       A.      Roomba Models and Tiers

       During the Class Period, iRobot manufactured Roomba models sold “in two distinct tiers:

(1) less expensive, entry-level models that had fewer and more basic features and older, less-

sophisticated technology, and (2) more expensive, premium-tier models that included more higher-

end features and up-to-date technology.” Id. ¶¶ 63. The premium-tier Roomba sales accounted

for 60% of iRobot’s “overall Roomba revenue annually” during the Class Period with the entry-

level Roomba sales accounting for the other 40%. Id. Before the launch of the new “e5” “mid-

level” Roomba in September 2018, the “600 series” entry-level Roombas were sold at

approximately $300, compared to the e5 which retailed at $449. Id. ¶ 64. The 800 and 900 series

premium-tier Roombas, including extra features “such as dual, multi-surface brushes, proprietary

camera-based navigation technology, advanced mapping technology, and Wi-Fi and smartphone

connectivity” retailed “between $500 and $900, or more.” Id. ¶ 65.



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       In September 2018, iRobot launched the i7 and i7+ premium-tier Roombas for $699 and

$949, respectively. Id. ¶ 66. In May 2019, they released “the most expensive model in its history,”

the premium-tier s9 and s9+ models, sold at $999 and $1,299, respectively. Id. As part of its

competitive business strategy, iRobot launched new premium-tier Roomba models every eighteen

months to two years. Id. ¶ 67. iRobot implemented technology from older premium-tier Roombas

into the entry-level 600 series models. Id. Plaintiffs allege that “[p]rior to and during the Class

Period, Defendants repeatedly told investors that this strategy was key to iRobot’s ability to stave

off competition from companies that charged significantly less for their robotic vacuums.” Id. ¶

68. For example, in a February 8, 2018 fiscal year 2017 and fourth quarter 2017 earnings call,

Angle explained that iRobot takes the “premium features and roll them down to ensure that [their]

entry-level price points continue to be competitive and to ensure that [they] can hold off these

lower tech entrants into the marketplace.” Id.

       B.      Roomba’s Market Share and Growth

       During the Class Period, Defendants relayed to investors “that iRobot was experiencing

rapid and substantial revenue growth across all of its primary global regions and that this growth

would continue for years to come.” Id. ¶ 70. During a March 1, 2018 analyst call, Angle said that

iRobot had experienced nearly a 40% compound annual growth rate (“CAGR”) in North America,

24% CAGR in Europe, Middle East and Africa and 14% CAGR in Asia-Pacific, highlighting that

“on a global basis, the robot vacuuming segment [was] moving in a very exciting direction,”

wherein they anticipated “continued strong momentum for years to come.” Id. In his words then,

given the “massive amount of revenue growth expected in the U.S. (39%),” the U.S. market was

crucial for iRobot’s financial success. Id. ¶ 71.




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       C.      Roomba’s Increasing Competition in the RVC Market

       iRobot “began facing mounting pressure from new competition entering the RVC market”

as the RVC market “grew from only a small fraction of the worldwide overall vacuum cleaner in

the market in the early 2000s to approximately 20% by 2016.” Id. ¶ 72. Vacuum manufacturers

Dyson, Bissell and Hoover launched RVCs beginning in 2014, 2015 and 2016 respectively, while

electronic manufacturers Panasonic, LG and Samsung released RVCs in 2015 and 2016. Id.

iRobot also faced competition from “new RVC specialists” Neato Robotics, bObsweep and

ECOVACS Robotics. Id.

       Neato launched its first RVC in 2010 and has since released other models including its

most popular, the “Botvac.” Id. ¶ 73. At the beginning of the Class Period, Neato had just launched

its flagship RVC, Botvac D7 Connected, “one of its highest-end RVCs.” Id. bObsweep introduced

its RVCs, the bObi and bObi Pet, in the U.S. in 2015 and ECOVACS, began launching models

such as its Deebot series in 2016. Id. By the start of the Class Period, there were at least twenty

different manufacturers attempting to gain market share from iRobot in the United States. Id. ¶

74. Notably, SharkNinja, one of iRobot’s biggest competitors and the number one seller of

traditional upright vacuums in the United States announced three models of RVCs: Shark ION

750, 720 and 700 on September 12, 2017, one day before the start of the Class Period. Id. ¶ 75-

76. The Shark ION, along with other major competitors, would later be sold side-by-side with

Roomba models at large online and retail stores including Amazon, Best Buy, Target, Walmart,

Home Depot and Bed, Bath & Beyond. Id. ¶ 79. The Neato Botvac, Samsung Powerbot and

bObsweep models all sold their vacuums at price points well below the cost of iRobot’s models,

with Samsung Powerbot, for instance, receiving better reviews from “top consumer electronics

publications” than the comparable Roomba 980 for $300 less. Id. ¶ 78. Plaintiffs allege that,



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according to multiple former iRobot employees, during the Class Period, new SharkNinja models

as well as other competing RVCs began to take up more shelf room at retail stores “previously

dedicated exclusively to Roombas,” iRobot’s product. Id. ¶ 79.

       Analysts at J.P. Morgan recognized the “competitive threat” of these newer RVC models,

reporting in September 2017 that the Shark ION appeared to “match the capabilities of the iRobot

Roomba 600 and 800 series, with a lower price.” Id. ¶ 80. Analysts at Spruce Point Capital

Management similarly reported on September 13, 2017 that “given Shark’s historical success,

[they] assume[d] that their entry into the market [would] translate into sales and margin pressure

for iRobot beginning with Q4 2017.” Id. ¶ 81.

       D.      iRobot’s Alleged Material Misstatements or Omissions

       Plaintiffs allege that Defendants iRobot and Angle, Dean and Cerda (collectively, the

“Individual Defendants”) “consistently and misleadingly reassured the market that the new

competition did not threaten [iRobot’s] market share advantage or impact iRobot’s revenues and

gross margins because Roombas were equipped with superior technology and features that

differentiated them from the competition.” Id. ¶ 83. They further allege that analysts “were

encouraged” by Defendant’s false and misleading statements, “remaining confident of [iRobot’s]

continued dominance in the RVC market despite this increased competitive market.” Id. As the

market became increasingly saturated with greater competition, Plaintiffs allege that iRobot and

the Individual Defendants had knowledge that the rising competition has begun to “significantly

erode” iRobot’s market share by early 2018, but failed to disclose to investors these “material,

adverse competitive trends” regarding iRobot’s performance. Id. ¶ 84.




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III.   Procedural History

       This class action was initiated on October 24, 2019 in the Southern District of New York.

D.1. The case was transferred to this Court. D. 19, 21. This Court consolidated related actions,

appointed lead plaintiffs and lead counsel. D. 52. Plaintiffs filed the consolidated amended

complaint on April 3, 2020. D. 66. Defendants have now moved to dismiss. D. 77. After oral

argument, the Court took this motion under advisement. D. 87.

IV.    Standard of Review

       For allegations of securities fraud under Sections 10(b) and 20(a) of the Securities

Exchange Act, Plaintiffs “must plead the circumstances of the fraud with particularity, pursuant to

Rule 9(b),” Hill v. Gozani, 638 F.3d 40, 55 (1st Cir. 2011) (citation omitted) and pursuant to the

Private Securities Litigation Reform Act (“PSLRA”), must also “specify each statement alleged to

have been misleading [and] the reason or reasons why the statement is misleading.” Id. (alteration

in original) (citation and quotations omitted). “[I]f an allegation regarding the statement is made

on information and belief, the complaint shall state with particularity all facts on which that belief

is formed.” In re Cabletron Sys., Inc., 311 F.3d 11, 27 (1st Cir. 2002) (citation omitted). The

complaint must also, with “respect to each [alleged] act or omission . . . state with particularity

facts giving rise to a strong inference that the defendant acted with the required state of mind.”

Hill, 638 F.3d at 55 (alteration and omission in original) (citation and emphasis omitted). Plaintiffs

are not required, however, to plead evidence. Id. (citation omitted).

       As part of the Tellabs v. Makor Issues & Rights, Ltd., 551 U.S. 308 (2007) inquiry, courts

engage in a particularized scrutiny of private securities complaints. See, e.g., Zucco Partners, LLC

v. Digimarc Corp., 552 F.3d 981, 996 (9th Cir. 2009). Nevertheless, the PSLRA’s pleading

standard is not an insurmountable bar. Plaintiffs have made a range of allegations in support of



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their argument that Defendants intentionally defrauded iRobot shareholders. As required by

Tellabs, the Court considers the allegations collectively to determine whether the allegations give

rise to a strong inference of scienter. Zucco, 552 F.3d at 992 (citing Tellabs, 551 U.S. at 323).

        Still, as with any Rule 12(b)(6) motion, the Court must “accept well-pleaded factual

allegations in the complaint as true and view all reasonable inferences in the [P]laintiffs’ favor.”

Id. (citation omitted).

V.      Discussion

        To state a Section 10(b)-5 claim, Plaintiffs must plead: “(1) a material misrepresentation

or omission; (2) scienter, or a wrongful state of mind; (3) a connection with the purchase or sale

of a security; (4) reliance; (5) economic loss; and (6) loss causation.” Hill, 638 F.3d at 55 (citation

omitted). Defendants challenge the adequacy of the complaint as to any actionable misstatements

or omissions as well as scienter. D. 78 at 16, 29.

        A.      Plaintiffs Have Not Sufficiently Plead Material Misrepresentations and
                Omissions by Defendants

        “To establish a material misrepresentation or omission, [Plaintiffs] must show ‘that

defendants made a materially false or misleading statement or omitted to state a material fact

necessary to make a statement not misleading.’” Ganem v. InVivo Therapeutics Holdings Corp.,

845 F.3d 447, 454 (1st Cir. 2017) (quoting Geffon v. Micrion Corp., 249 F.3d 29, 34 (1st Cir.

2001)). Information is material if a “reasonable investor would have viewed it has having

significantly altered the total mix of information made available.” Mississippi Pub. Employees

Ret. Sys. v. Boston Scientific Corp., 523 F.3d 75, 85 (1st Cir. 2008) (internal quotation marks and

citation omitted). “[W]hether a statement is ‘misleading’ depends on the perspective of a

reasonable investor.” Omnicare, Inc. v. Laborers Dist. Council Const. Indus. Pension Fund, 575

U.S. 175, 186 (2015). The allegations in the complaint must also meet the standard under Fed. R.

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Civ. P. 9(b) and the “heightened pleading requirements” imposed on private securities litigation.

Miss. Pub. Employees, 523 F.3d at 85. Although “‘in most circumstances, disputes over the

materiality of allegedly false or misleading statements must be reserved for the trier of fact,’”

Quaak v. Dexia, S.A., 445 F. Supp. 2d 130, 141 (D. Mass. 2006) (quoting Shaw v. Digital Equip.

Corp., 82 F.3d 1194, 1217 (1st Cir. 1996)), dismissal is appropriate for securities fraud where “[t]he

Court finds that, even taking all facts alleged as true, most of the challenged statements were not

material misrepresentations or omissions.” Wasson v. LogMeIn, Inc., No. 18-cv-12330-ADB,

2020 WL 5946813, at *17 (D. Mass. Oct. 7, 2020). Here, Plaintiffs have failed to show that any

of Defendants’ alleged statements are false or misleading.

       The complaint challenges some thirty-nine statements as materially false or misleading at

the time made. D. 66 ¶ 200-263, D. 78-1. These statements fall within a few categories:

statements regarding consumer demand, statements regarding market share, statements regarding

competition and statements of corporate optimism or opinion. This Court agrees with Defendants

that “at least seventeen of the challenged statements are not adequately alleged to be false or

misleading and thus are not actionable as a matter of law,” and will address them in tandem below.

D. 78 at 30, D. 66 ¶ 200, 202, 203, 208, 211, 215, 221, 224, 231, 234, 241, 246, 248, 254, 258,

259.

               1.      Statements Regarding Consumer Demand

       Plaintiffs challenge multiple statements about consumer demand, but never assert that these

statements are false. They deem these statements misleading for failure to disclose known

“materially adverse competitive trends.” Id. ¶ 206, 217, 228, 255. Statements such as “’17 was

still another year where we maintained our segment position” Id. ¶ 215, or “demand from U.S.

retailers for our robots increased during the last quarter,” Id. ¶ 202, do not, on their own, allege



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how the omitted disclosure of the alleged “adverse competitive trends” rendered these otherwise

factual statements misleading. In re Cytyc Corp., No. 02-12399-NMG, 2005 WL 3801468, at *25

(D. Mass. Mar. 2, 2005) (finding that statement of past financial performance was not misleading

by alleged failure to disclose present or future trends). Without alleging that the aforementioned

“historical fact[s] about consumer demand,” D. 78 at 30, are false, or alleging particularly how the

lack of disclosure concerning adverse competitive trends rendered these statements about past

financial performance misleading, the complaint does not sufficiently plead specific facts under

Section 10(b). See Shaw v. Digital Equip. Corp., 82 F.3d 1194, 1212 (1st Cir. 1996) (observing

that “accurate reports of past successes do not [create] a duty to inform the market whenever

present circumstances suggest that the future may bring a turn for the worse”).

               2.      Statements Regarding Market Share

       The complaint also challenges statements about market share: “[o]ur U.S. estimates for

2018 show a 3-point share loss overall,” D. 66 ¶ 248, and “the U.S. segment did not accelerate in

the second quarter as we had expected, but we had maintained our segment share in this region

and are not seeing any share erosion due to competition . . . we’ve held our share based on the data

we are seeing. The competition doesn’t seem to have taken anything in the first half of the year.”

Id. ¶ 259. Plaintiffs allege that these statements were misleading when made because “iRobot’s

market share had fallen an additional 10% to 77% by October 2018.” Id. ¶ 242, 249, 262.

However, as Defendants contend, the complaint “fails to allege any particularized facts showing

that this purported 10% market share decline representing a snapshot of time… remained static

through the remainder of the year and in 2019 such that these statements discussing iRobot’s

market share as of the end of 2018 and first half of 2019 are not adequately alleged to be

misleading.” D. 78 at 31. Without any additional particularized facts surrounding how and why



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the above statements are misleading at the time made, the statements are otherwise representations

of iRobot’s market share during a particular period, served a particular purpose and have not been

shown, as alleged to be to be misleading. See In re Smith & Wesson Holding Corp. Sec. Litig.,

836 F. Supp. 2d 1, 8 (D. Mass. 2011) (finding that a statement “clearly intended” to refer to a

company’s acquisition in January 2007 and based on record sales in months leading to press

release, were true, and thus “cannot be fairly argued” to be misleading).

               3.      Statements Regarding Competition

       Similarly, the challenged statements about competition and tariffs are not actionable.

Plaintiffs rely upon retail market research data compiled by confidential witness 1 (“CW 1”), a

former marketing development manager at a company contracted by iRobot to conduct market

research on iRobot and its competitors’ sales and other competitive trends, and confidential

witness 2 (“CW 2”), a former field marketer responsible for going into retail stores throughout the

United States to speak to their store contacts about the sales of iRobot’s products. The market

research data was later submitted to undisclosed persons at iRobot in the form of weekly Field

Marketing Reports (the “Reports”). See D. 66 ¶ 7, 52, 56. Based upon such information, Plaintiffs

contend that iRobot was aware during the Class Period that it was “increasingly losing store shelf

space, sales and market share” to competitors and that these adverse trends contradicted the

statements challenged in this suit. Id. ¶ 8, 112. The allegations related to CW 1 and 2, however,

do not specify “any specific [R]eport itself, the information in the [R]eports they deem significant,

or how such information rendered the representations at issue misleading.” Guerra v. Teradyne,

Inc., No. 01-11789-NG, 2004 WL 1467065, at *25 (D. Mass. Jan. 16, 2004). As Defendants

contend, the allegations regarding the Reports also do not provide any “specific or quantifiable

facts—no metric, projection, analysis, assumption, summary or other data reflecting iRobot’s or



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competitor’ sales, inventory, shelf space, demand or market share.” D.78 at 20, D.66 ¶ 87-93; see

In re Biogen Inc. Sec. Litig., 857 F.3d 34, 42 (1st Cir. 2017) (affirming dismissal on motion to

dismiss finding that complaint failed to plead particularized facts giving rise to strong inference of

scienter and rejecting confidential witness statements regarding alleged sales declines for failing

to identify quantifiable facts with “any precision”). Despite alleging that Angle routinely read the

Reports, Plaintiffs fail to indicate the rate at which shelf space was declining, any indicia of how

much shelf space was available prior to competition intensifying, nation-wide, not just regional

iRobot sales data, or even “how (if at all) the decline in shelf space was factored into iRobot’s U.S.

financial guidance.” D. 78 at 20; see Metzler Asset Mgmt. GmbH v. Kingsley, 928 F.3d 151, 165

(1st Cir. 2019) (affirming dismissal on motion to dismiss where, among other things, court rejected

confidential witness statement about a single sales region because it “does not indicate that [the

CW] knew that [defendant]’s generalized assessments of the magnitude of change in [sales

decline] nationally for the company were untrue”).

       CW 1 alleged that Angle “frequently acknowledged specific information from

the . . . Reports that he found relevant, thus showing that he had read them.” D. 66 ¶ 91. Yet, this

sort of generalized assertion does not provide what specific information Angle ever found relevant,

how he was relying on the Reports, when or even whether he was able to ascertain competition

risks, and later use that information to mislead investors. Simply stating that “iRobot was very

‘plugged in’ and aware” of decreasing shelf space problems does not suffice. See Fire & Police

Pension Ass’n of Colo. v. Abiomed, Inc., 778 F.3d 228, 245 (1st Cir. 2015) (affirming dismissal

and noting that “even if the CW’s statements plausibly suggest that [Defendants were] acting

improperly, they do not show that defendants’ statements . . . were made with conscious intent to

defraud or recklessly”). Defendants contend that allegations attributed to CW 1 and CW 2



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regarding the Reports are ‘so lacking in connecting detail’ “to any challenged statement that they

cannot give rise to a strong inference of scienter” as to Angle, Dean or Cerda. D. 78 at 21 (citing

In re Biogen, 857 F.3d at 42). Specifically, they assert that Plaintiffs fail to allege how information

contained in Reports, and allegedly read by Angle and others, contradicted any of Angle’s

statements “at the time they were made.” D. 78 at 21. The same holds true for statements made

by Dean or Cerda. Plaintiffs further rely on the following statements from CW 1 and CW 2:

       1. “iRobot’s competitors’ products were selling well and were ‘definitely’ eating into

           iRobot’s U.S. market share significantly,” D. 66 ¶ 94;

       2. “[i]n the summer of 2018… store shelf space dedicated to iRobot products had

           substantially declined further,” id. ¶ 96;

       3. “[t]he increased competition from Shark, Neato, and other robot vacuums, which were

           lower priced had really hurt iRobot sales,” Id. ¶ 114;

       4. “iRobot was increasingly losing more and more sales to its competition,” id. ¶ 121; and

       5. “competition (specifically, Shark) began to heavily impact sales of iRobot products,”

           id. ¶155.

As Defendants assert, these statements “stripped of [their] conclusory adjectives,” Simon v.

Abiomed, 37 F. Supp. 3d 499, 517 (D. Mass. 2014), generally describe that iRobot faced increasing

competition starting in 2017, yet are “entirely consistent with what iRobot and its executives were

already telling investors before and during the Class Period.” D. 78 at 21-22. For one example, in

a 2016 Form 10-K (dated February 17, 2017), iRobot informed investors that “increased

competitive pressure could result in a loss of sales or market share or cause [iRobot] to lower prices

for [its] products, any of which would harm [its] business and operating results.” D. 78 at 22. For

another example, in a February 2018 earnings call, Angle noted that there was “absolutely an



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increased competitive pressure” from lower-cost RVCs. Id. Because the CW 1 and CW 2

statements are generalized assertions and not in conflict with disclosures made by iRobot during

the Class Period, they cannot be alleged to be false or misleading.

       Further, Plaintiffs propose that statements made during a February 7, 2019 earnings call

“tout[ing] the Company’s purportedly strong market share and sales of premium-tier Roombas to

investors and downplay the impact of competition on [iRobot’s] business” by alluding to the fact

that competitors were not taking shelf space from them. D. 66 ¶ 246. They challenge Angle’s

assertion then: “[i]n the U.S. we continue to see the new competitive products selling through

Amazon marketplace, but not on shelves of retailers, where we still generate 60% of our domestic

revenue.” Id. While Plaintiffs contend that this statement was false as iRobot was “losing shelf

space to new competition” as indicated by their own “real-time access to pictures in the Cognistix

database showing the declining shelf space,” D. 81 at 19, these statements are not false nor

misleading but illustrate general corporate optimism. See Shaw, 82 F.3d at 1218 (finding loose

optimism or “self-directed corporate puffery” not actionable because “[t]he market is not that

easily duped”). “Courts have demonstrated a willingness to find immaterial as a matter of law a

certain kind of rosy affirmation . . . numbingly familiar to the marketplace—loosely optimistic

statements that are so vague, so lacking in specificity, or so clearly constituting the opinions of the

speaker, that no reasonable investor could find them important to the total mix of information

available.” Id. at 1217. Here, Angle’s statement was generalized as it does not specify which

competitors were selling on Amazon and not retail shelves and that iRobot was still selling strongly

on shelves in stores. Further, his statement was made in the context of sharing information

regarding competitors and explaining that the company had recently “successfully launched 2 new

products during the third quarter, the Roomba e5, [their] core product, offering premium features



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at a lower price point; and [their] game-changing premium Roomba i7 and i7+ robots.” D. 79-22

at 6. Together, the e5 and i7 models, Angle added, contributed to the “24% year-over-year 2018

domestic revenue growth.” Id. In other words, Angle is admitting to competition but lauding

iRobot’s perceived strength regarding premium RVC’s and success on retail shelves. He follows

the statement mentioning that the “overall category for RVCs priced at more than $200 grew 27%

in 2018 over 2017 in the U.S.” which he attributes to competition running “an ad campaign

throughout the fourth quarter, which [they] believed helped the category grow.” Id. A reasonable

investor, hearing these statements on the fourth quarter 2018 earnings call on February 7, 2019,

would understand the context of a broader discussion regarding increased competition within the

premium RVC market. While Plaintiffs contend that Angle’s statement that “new competitive

products” were not selling “on the shelves of retailers” “is a concrete, verifiable representation of

fact” that “when read in context, was not unimportant to a reasonable investor,” D. 81-1 at 19, the

statement acknowledges competition increasing but iRobot’s continued strong presence on retail

shelves. Accordingly, such statement was not false or misleading. See Shaw, 82 F.3d at 1217.

       CW 1 stated that by summer 2018, “in response to increased competition and resultant poor

Roomba sales, especially at the entry-level where the market was saturated by the competition,

iRobot decided to refocus its sales and marketing efforts… to its premium-tier line.” Id. ¶15.

According to CW 1, the “Champion Program” was “heavily focused on training sales

representatives about those higher-end products’ features, including much more aggressive demos

of these products in the stores.” Id. ¶114. “Not only were customers hesitant to pay for premium

version of a robot vacuum,” the product had performance issues, and “[CW 1] had to give many

of these models away to store managers as free samples so that stores would continue to sell them.”

Id. ¶118-119. These free samples were given “in exchange for the store managers’ agreement to



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display the models in store for 90 days.” Id. ¶ 119. Even as alleged, Plaintiffs fail to explain how

CW 1’s information about challenges in selling premium models made iRobot’s statements

regarding its business decision to shift focus to their newer, premium-tier RVCs false or

misleading. That is, the record reflects that iRobot informed investors their “strategy has been in

the premium end of the market” and that “strategy hasn’t changed” despite other companies “trying

to compete at the lower end of the premium” tier. D. 78 at 24 (citing 9/13/17 and 10/25/17

Conference and Earnings transcripts).

        Similarly, CW 1’s alleged statements related to tariffs’ financial impact are insufficient.

CW 1 stated that “during an internal conference call between iRobot and [Creative Channel

Services], after the poor holiday season performance in late 2018, [Creative Channel Services]

employees were instructed by iRobot that if customers asked about the reason for decline in

iRobot’s stock price that occurred in 2019 that store representatives were to inform them that this

was only due to the tariffs.” D. 66 ¶175. CW 1 was made aware of this instruction not by iRobot

representatives directly, but through the National Field Team Manager at Creative Channel

Services. Id. CW 1 claims that iRobot was “blaming the tariffs” when in reality, the “tariffs likely

accounted for only 25% of iRobot’s financial troubles, but that increased competition and

saturation in the market accounted for the other 75%.” Id. Even assuming that CW 1, a lower-

level employee at a third-party marketing vendor, had the requisite knowledge to account for the

relative impact of tariffs, this information is not at odds with iRobot’s disclosures regarding tariffs.

The company informed investors about such matters on two key moments during the Class Period:

November 2, 2018 and February 14, 2019. In November of 2018, right before the “poor holiday

season,” iRobot disclosed that “[e]ffective September 24, 2018, the U.S. government implemented

a ten percent (10%) tariff on certain goods imported from China,” and that “[t]he implemented and



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announced tariffs may cause [iRobot] to increase prices to [their] customers which may reduce

demand, or, if [they were] unable to increase prices, result in lowering [their] margin on products

sold.” D. 78-2. Similarly, in February 2019, after the 2018 holiday season, the company disclosed

that the tariffs would increase to 25% effective March 2, 2019 and that similarly, this may cause

iRobot to increase prices, risking drop in demand, or result in lowering their margin on products

sold. Id.

       Plaintiffs argue that Defendants misled investors regarding the impact of increased

competition and trade tariffs on its financial guidance by failing to disclose negative trends of

decreasing shelf-space demand and market share that were all intensified by iRobot’s strategic

plan to focus on premium-tier RVCs. D. 66 ¶ 12, 199. Defendants, on the other hand, contend

that the complaint “‘contains no specific allegations (whether from a confidential witness, a

document or otherwise)’ showing that the individually named defendants knew or recklessly

disregarded that their statements about the impact of increased competition or tariffs on iRobot’s

financial performance were materially false and misleading at the time they were made.” D.78 at

17 (citing Local No. 8 IBEW Ret. Plan v. Vertex Pharm. Inc., 140 F. Supp. 3d 120 at 132-33 (D.

Mass. 2015)). Plaintiffs rely on, for example, a statement made by Angle on September 13, 2018

at a Morgan Stanley Laguna Conference indicating that tariffs were not impacting iRobot’s

business to date, D. 66 ¶ 232, and compare this to CW4, iRobot’s country manager for Canada

from April 2014 to July 2019, who noted that “as iRobot was building up its U.S. inventory in

2Q18—as a way of mitigating some of the financial impact from the tariffs . . . its sales were also

softening (as a result of increased competition).” Id. As alleged, these statements do not “state

with particularity [the] facts giving rise to a strong inference that the [Defendants] acted with the

required state of mind.” 15 U.S.C. § 78u-4(b)(1), (2). In other words, while Plaintiffs allude to



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incongruity between Angle’s statements and information provided by CW4, they fail to allege with

particularity, for instance, how Angle, knew or recklessly disregarded that his statement regarding

lack of impact on business by tariffs to date in September 2018 were materially false or misleading

at the time of the Morgan Stanley Laguna Conference. The same can be said about Plaintiffs

alleging that a month later on October 24, 2018, Angle mentioned that iRobot was “better

positioned than [its] major competitors” with regards to withstanding tariff-related price increases

without impact to its demand. D. 81 at 32, D. 66 at ¶ 234. While Plaintiffs contend that “by this

time, Defendants knew that iRobot’s newest, most expensive premium products, the i7 and i7+,

were selling poorly due to their high price and performance issues,” D. 81 at 33, D. 66 at ¶¶ 118,

120 they fail to allege with particularity how he knew or recklessly disregarded that his statement

in October 2018 was materially false or misleading at the time.

               4.      Statements of Corporate Optimism or Opinion

       Statements of corporate optimism or opinions, as noted above, are not actionable.

“[L]oosely optimistic statements that are so vague, so lacking in specificity, or so clearly

constituting the opinions of the speaker, that no reasonable investor could find them important to

the total mix of information available” are immaterial. Shaw, 82 F.3d at 1217. Such statements

include those “about both a company’s current state of affairs and its future prospects.” In re

Boston Sci. Corp. Sec. Litig., No. 10-10593-DPW, 2011 WL 4381889, at *11 (D. Mass. Sept. 19,

2011), aff’d, 686 F.3d 21 (1st Cir. 2012). As Defendants point out, “at least twenty-one” of the

statements challenged by Plaintiffs are “precisely the sort of corporate optimism that is incapable

of objective verification and immaterial as a matter of law.” D. 78 at 33, D. 66 ¶ 202-204, 208,

215-216, 221, 225-226, 234-235, 244, 246, 248, 252-253, 260. Statements that amount to “rosy

affirmation” of a company’s prospects or products are not actionable statements for a securities



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fraud claim. In re Biogen Inc. Sec. Litig., 193 F. Supp. 3d 5, 42 (D. Mass. 2016) (claiming that

company sold a “terrific product that is going to perform very well in the market” was not

actionable). For instance, Plaintiffs challenge Angle’s statement during a 2017 third quarter call

stating that iRobot “continue[s] to gain space, exposure and momentum in the market, driving

higher full year U.S. revenue expectations for the second time [that] year, even with the availability

of new competitive products.” D. 66 at ¶ 202. They also challenge a similar statement by Angle

during a second quarter 2019 earnings calls referring to the s9 Roomba demand and features as

successful. D. 66 at ¶ 260. Plaintiffs contend that “Defendants repeatedly told investors that sales

and demand remained ‘strong’ and ‘successful’ ‘across price points,’ despite increased

competition and tariff-related price increases, including that iRobot was not ‘simply getting pushed

into premium only.’” D. 81 at 35. However, these statements related to market momentum or

traction are not actionable. In re Cytyc Corp., 2005 WL 3801468, at *22 (statements concerning

“momentum” “on track” and “consistent” growth nonactionable). Similarly, Angle’s assertion

during a fiscal year 2018 earnings call that iRobot’s U.S. estimates for 2018 demonstrated that the

company was “well positioned to continue [its] growth trajectory” in the market is not actionable.

D. 66 at ¶ 248. This portion of Angle’s statement is but a general statement expressing optimism

towards future financial success. The same can be said about his comment that iRobot had “really

good traction to-date” in 2019 with “the higher-priced” models, Id. at ¶ 253, where Angle was

discussing revenue for same and subsequently expressed optimism. See Colby v. Hologic, Inc.,

817 F. Supp. 204, 210-11 (D. Mass. 1993) (dismissing as immaterial a statement that “prospects

for long term growth are bright”); Orton v. Parametric Tech. Corp., 344 F. Supp. 2d 290, 301 (D.

Mass. 2004) (holding that a statement in company press release indicating that company was

positioned for long-term growth was nonactionable puffery).



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       For the aforementioned reasons, the Court concludes that Plaintiffs have failed to plead

any material misrepresentations or omissions.

       B.      The Allegations Pled in Amended Complaint Do Not Support a Strong
               Inference of Scienter

       Even assuming arguendo that Plaintiffs have alleged any actionable statements, dismissal

is still warranted here for the failure to allege scienter. In a securities fraud case, Plaintiffs must

“‘state with particularity facts giving rise to a strong inference that the defendant[s] acted with the

required state of mind.’” Greebel v. FTP Software, Inc., 194 F.3d 185, 194 (1st Cir. 1999) (quoting

15 U.S.C. § 78u–4(b)(2)). Scienter, “‘a mental state embracing intent to deceive, manipulate or

defraud,’ may be shown where the defendants consciously intended to defraud, or that they acted

with a high degree of recklessness.” Aldridge v. A.T. Cross Corp., 284 F.3d 72, 82 (1st Cir. 2002)

(internal citations omitted). The PSLRA’s requirement to plead facts giving rise to a “strong

inference” of scienter to mean that “a complaint will survive . . . only if a reasonable person would

deem the inference of scienter cogent and at least as compelling as any opposing inference one

could draw from the facts alleged.” Tellabs, 551 U.S. at 324. Thus, in evaluating a securities class

action complaint, courts “must take into account plausible opposing inferences.” Id. at 323.

“[W]here there are equally strong inferences for and against scienter, Tellabs now awards the draw

to the plaintiff.” ACA Fin. Guar. Corp. v. Advest, Inc., 512 F.3d 46, 59 (1st Cir. 2008). This is

necessarily a fact-specific inquiry, Greebel, 194 F.3d at 196; Aldridge, 284 F.3d at 82, which may

rely upon indirect evidence of scienter, Greebel, 194 F.3d at 202, but the inference may not just be

a reasonable one, but a strong inference of scienter. In re Stone & Webster, Inc., Sec. Litig., 414

F.3d 187, 195 (1st Cir. 2005) (internal quotation marks omitted) (quoting Cabletron, 311 F.3d at

38. Courts conducting such an inquiry must determine “whether all of the facts alleged, taken




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collectively, give rise to a strong inference of scienter, not whether any individual allegation,

scrutinized in isolation, meets that standard.” Tellabs, 551 U.S. at 323 (emphasis in original).

               1.      Lack of False/Misleading Statements

       “There is no set pattern of facts that will establish scienter; it is a case-by-case inquiry.”

ACA Fin. Guar. Corp., 512 F.3d at 66. Yet, satisfactory evidence of scienter includes “clear

allegations of admissions, internal records or witnessed discussions” suggesting that defendants

were “aware that they were withholding vital information or at least were warned by others that

this was so” when they made the misleading statements. In re Boston Scientific Corp. Sec. Litig.,

686 F.3d 21, 31 (1st Cir. 2012). As discussed above, Plaintiffs have not sufficiently plead

actionable false or misleading statements and accordingly, in the absence of such a showing, it

may be difficult for this Court to find that Defendants acted with the necessary “state of mind” as

to same. See 15 U.S.C. §§ 78u-4(b)(1)-(2).

               2.      Individual Defendants’ Positions Alone are Not Sufficient to Support a
                       Strong Inference of Scienter

       Plaintiffs allege that Defendants had sufficient knowledge of their allegedly false or

misleading statements because of their access and monitoring of “internal information sources.”

D. 66 ¶ 312-329. Specifically, they allege that because Angle was CEO and Dean was COO, they

“had intimate knowledge of [iRobot’s] business operations, including Roomba sales and

competitive trends and effects.” They further contend that during the Class Period, Angle, Dean

and Cerda “had access to a variety of internal information sources that tracked Roomba sales and

market research on iRobot’s competition, including specifically adverse competitive trends and

effects.” Id. ¶ 314.   An attempt to infer scienter based largely on a person’s professional role

within a company has previously been rejected. Orton, 344 F. Supp. 2d at 306 (noting that “a

vague assertion that a defendant must have known about the fraud by virtue of his position of

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authority [does not] suffice to prove a strong inference of scienter”). The complaint also alleges

that “Defendant’s close personal monitoring of the tariff issue and its effect on iRobot further

shows that they knew or recklessly disregarded the falsity of their statements.” D. 66 ¶ 329.

Plaintiffs further allege that Angle, Dean and Cerda’s own statements raise strong inference of

scienter because as executives they “spoke at length about iRobot’s financials” and acted as

“hands-on managers who performed the necessary research and analyses required to make the

representations about market share, demand and pricing.” D. 66 ¶ 330-335. Yet, it is expected

that “responsible management [will] engage in such monitoring,” and absent any further

information regarding what Angle, Dean and Cerda “learned from such monitoring, and whether

what [they] learned was at odds with” iRobot’s disclosures to investors about tariffs, a generalized

statement about their monitoring is not sufficient indicia of scienter. See Metzler, 928 F.3d at 162

(affirming holding that investors’ allegations failed to establish strong inference of scienter and

explaining that “the fact that Biogen’s leadership monitored . . . reporting metrics does not in and

of itself suffice to create the ‘strong inference’ that [defendant]” made statements “with the

requisite intent to deceive”).

       Finally, the timing and circumstances of Dean and Cerda’s resignations do not support a

strong inference of scienter. On September 13, 2019 (a month before the end of the Class Period),

iRobot issued a press release announcing the immediate resignation of then COO Cerda. Instead

of accepting the reasoning that he left to “pursue other career opportunities,” Plaintiffs allege that

his resignation was “highly suspicious and adds to a strong inference of scienter.” Id. ¶ 338. This

Court disagrees. As Defendants note, there is nothing inherently suspicious about “a COO

resigning to become a CEO” of another company. D. 78 at 28. Absent any further particularized

allegations, other than the timing of aligning with alleged corrective disclosures, the complaint



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fails to allege sufficient facts to show that Cerda or Dean’s departures were tied to their knowledge

or even participation in the alleged fraud. See Metzler, 305 F. Supp. 3d at 219 (noting that

allegation of abrupt resignation alone was insufficient to support inference of scienter). Similarly,

this Court cannot find that the resignations of Cerda and Dean serve as indicia of scienter.

               3.      Roomba as the Core Operation

       Given that the Roomba generated 90% of iRobot’s revenue, Plaintiffs assert that the

pending matter is “the prototypical case” where the core operations doctrine applies. D. 81 at 9.

“[F]acts critical to a business’s core operations . . . generally are so apparent that their knowledge

may be attributed to the company and its officers.” Crowell v. Ionics, Inc., 343 F. Supp. 2d 1, 19

(D. Mass. 2004) (internal quotation marks and citation omitted). Defendants do not contest that

the Roomba is a core product for iRobot, but dispute that such core product allegations are

sufficient to give rise to a strong inference of scienter here. D. 78 at 26; see In re Psychemedics

Corp. Sec. Litig., No. 17-10186, 2017 WL 5159212, at *6 (D. Mass. Nov. 7, 2017) (finding

“plaintiff’s ‘core operation’ theory stands naked, unadorned by any other piece of evidence

purporting to establish the essential ‘plus’ factor—guilty knowledge on the part of [Defendants]);

In re Biogen, 193 F. Supp. 3d at 51 (finding that the complaint’s ‘core allegations’ fall short of

adding sufficient weight” to plead a strong inference of scienter absent “other significant evidence

of a defendant’s intent or recklessness”). Considering the allegations here, as the core product

constituting up to 90% of iRobot’s revenue, the Roomba’s importance to iRobot cannot be

reasonably disputed. Still, as set forth in Tellabs, this Court must consider allegations collectively

to determine whether they give rise to a strong inference of scienter. Even considering the full

context of the allegations here, this Court does find that the Roomba’s position as the core product

tips towards a finding for a strong inference of scienter in the absence of further allegations of



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Defendants’ intent or recklessness or any “plus factor.” See In re A123 Sys., Inc. Sec. Litig., 930

F. Supp. 2d 278, 285 (D. Mass. 2013) (distinguishing Crowell, 343 F. Supp. 2d at 19 which

involved core operations but also “allegations of the improper booking and accounting of

fraudulent sales, buttressed by a ‘plus factor’—an email pointing to the company’s vice president

as the author of the scheme”) Although Plaintiffs point to Defendants’ access and monitoring of

Roomba market research, competition trends as well as the Reports, D. 81 at 19, they also fail to

allege particularized facts as to such plus factor here.

               4.      Reliance Upon Confidential Witnesses Here Does Not Give Rise to Strong
                       Inference of Scienter

       The crux of Plaintiff’s allegation of a strong inference of scienter rests on the statements

of six confidential witnesses (“CW”). D. 66 ¶ 52-60, 84-100. Securities fraud plaintiffs may rely

on confidential witnesses without specifically naming them “provided they are described in the

complaint with sufficient particularity to support the probability that a person in the position

occupied by the source would possess the information alleged.” Cabletron, 311 F.3d at 29 (internal

citation omitted). Some courts have looked askance upon confidential sources that “were simply

not positioned to know the information alleged, . . . report only [multi-layer] hearsay and . . . allege

conclusory assertions of scienter.” Zucco, 552 F.3d at 996-98 and cases cited.

       Here, even as alleged, a number of the CWs do not have a clear basis of knowledge to

report on the inner workings of iRobot. CW 1 worked in marketing and development at a third-

party marketing agency, Creative Channel Services, conducting market research in Washington

state and western Canada. CW 1 submitted market research data to another CCS employee who

would convert the information into the Reports that she sent to iRobot. D. 66 ¶ 52-53. CW 2

worked as a field marketer also at Creative Channel Services from May 2015 through February

2019 and was responsible for going to U.S. retail stores to inquire about iRobot sales. Id. ¶ 56.

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CW 2 would then prepare a report of findings that was later “sent to iRobot corporate.” Id. Neither

CW1 or CW2 worked for or reported to any iRobot employee. D. 78 at 18. As Defendants

contend, CW 1 and CW 2, employees at a third-party vendor, are never alleged to have even spoken

to any of the Individual Defendants.

       The other CWs worked for iRobot, but not in high-level positions. CW 3 worked at iRobot

as a senior manager in Enterprise Data Services from November 2017 to August 2019 in IT

business analytics focusing on “the secure and accurate transmission of financial data and supply

chain information.” D. 66 ¶ 57. In this role, CW 3 also attended “informal” supply chain meetings

as well as iRobot “All Hands” meetings “where the topics of tariffs” were discussed, and Angle

was present. Id. As Defendants note, there is no reporting line alleged to any individual related

to this suit as to CW 3. D. 78 at 18.

       CW 4 worked as country manager in Canada for iRobot from April 2014 to July 2019. In

this role, CW 4 was responsible for “all aspects of iRobot business in Canada, including sales,

marketing, supply chain and advertising.” D. 66 ¶ 58. CW 4 reported to the Senior Vice President

and General Manager of the Americas, who was responsible for overseeing iRobot’s operations in

North, South and Central America. Id. CW 4 participated in weekly conference calls with “sales

teams and supply chain managers in the America . . . where forecasting and inventory were

discussed each week.” Id.

       CW 5 worked at iRobot as a Senior Talent Acquisition Advisor from January 2016 to

March 2017 and was responsible for recruiting for the marketing, product management and other

iRobot teams. Id.¶ 59. CW 6 worked for iRobot as a “Roboteer,” or engineer, in iRobot’s software

department “working with large motor controls and various sensors.” Id. ¶ 60.




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       CW 5 did not work at iRobot during the Class Period (beginning in September 2017) and

thus cannot have “firsthand knowledge of the state of mind of [iRobot]’s management during [the

class] period.” D.78 at 18; Abiomed, Inc., 778 F.3d at 245. CW 3, CW 4 and CW6, although

iRobot employees, also appear to “have had relatively little [or no] ongoing contact with senior

management” at iRobot. Abiomed, Inc., 778 F.3d at 245. This undercuts the Plaintiffs’ reliance

upon them in the pleadings, particularly when the PSLRA requires that confidential witnesses

allege “with particularity facts giving rise to a strong inference that the defendant acted with the

required state of mind.” 15 U.S.C. § 78u-4(b)(2)(A). CW 3 and CW 4, due to the nature of their

roles, had access to financial and supply chain data which would afford them some basis of

knowledge for opining as to same. Yet, CW 3 has not been alleged to have any interaction with

upper management, they cannot be considered to present a strong inference for scienter. CW 4

did report to the Senior Vice President of the Americas, although still not sufficiently close to

upper management like the Individual Defendants. While Plaintiffs contend that the complaint

“adequately alleges scienter based on, inter alia, multiple, well-placed confidential witnesses, who

stated that Defendants internally were highly concerned about competition and tariffs during the

Class Period, contrary to their positive public reassurances,” D. 81 at 9, such does not suffice. See

In re Biogen, 857 F.3d at 43; Metzler, 305 F. Supp. 3d at 214 (finding that the allegations of the

confidential witnesses were “not sufficient to support a strong inference of scienter on their own,

and the complaint’s ‘additional scienter allegations’. . . not sufficient to tip the balance” such that

the complaint’s allegations are insufficient to support a strong inference of scienter”).

       While, as Plaintiffs note, this Court “cannot construe the PSLRA’s pleading requirement

to mean that confidential witnesses . . . must recall all possible details from their former positions,”

D. 81 at 20 (citing Collier v. ModusLink Glob. Sols., Inc., 9 F. Supp. 3d 61, 73 (D. Mass. 2014)),



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even when viewed in conjunction with the alleged indicia of scienter, the information provided by

the confidential witnesses does not suffice. While the CWs’ access to some of the same Reports

as Defendant Angle or other iRobot information provides some basis of knowledge about the

company, D. 81 at 17-18, absent any further indicia of scienter or any “plus factor” as mentioned

above, such allegations fail to establish a strong inference of scienter.

               5.      Other Indicia of Scienter is Also Lacking Here

         Although there is no checklist for such showing of scienter, little of the indicia usually

relied upon to support such strong inference is alleged here. See Greebel, 194 F.3d at 196

(discussing the “many different types of evidence as relevant to show scienter”). There is no

allegation of insider trading; no divergence of internal reports and external statements on the same

subject; no personal gain to the Defendants or other allegations that reflect motive other than an

implicit suggestion that the Defendants acted in self-interest to preserve their positions and,

presumably, their salaries. As discussed above, the allegations that are made here simply do not

amount to a strong inference of scienter.

       Given absence of pleading of actionable statements and scienter, the Court allows the

motion to dismiss as to Count I.

       C.      Securities Act Section 20(a) Claim

       Under Section 20(a) of the Securities Exchange Act, when any “person” has been found

liable for violating another section of the Securities Exchange Act:

       “[e]very person who, directly or indirectly, controls any person liable under any
       provision of this chapter or of any rule or regulation thereunder shall also be liable
       jointly and severally with and to the same extent as such controlled person to any
       person to whom such controlled person is liable, ... unless the controlling person
       acted in good faith and did not directly or indirectly induce the act or acts
       constituting the violation or cause of action.”




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15 U.S.C. § 78t(a). Count II, alleging control person liability, rises and falls with the derivative

claim, Count I. Hill, 638 F.3d at 70. Accordingly, because Count I under Section 10(b) and Rule

10b-5 fails, so too must Count II.

VI.    Conclusion

       For the foregoing reasons, the Court ALLOWS Defendants’ motion to dismiss, D. 77.

       So Ordered.

                                                             /s/ Denise J. Casper
                                                             United States District Judge




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